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                     Exhibit 13
  Case
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                                              Payment
 Type: BK                 Status: Released    Vdate: 101800          TCN: 60 BAN: 941319
 Amount: $15,000.00      Commission: $0.00 ()               Charge: $16.00 (C)Cost Center: '
 Credit Account: 7001609000051 ()
 Debit Account: 7001100100051 ()
 ABA: 0572 ( B O O K T R A N S F E R )
 Swift 20: 01701 POO CHTO              Swift 21:
 Input: 00:00:00 (...)
 OFAC: ()
 Auth. Rel: 21:29:06 (...)
 Released: 21:29:06
 Verified: 00:00:00 (...)
 Credit/I BK Party: 7001609000051           UID: 342308              Swift: A R A B P S 2 2   Fedld:
                          A R A B BANK, RAMALLAH
 BBK Party:               UID:      Swift:  Fedld:
                          A R A B BANK PLC GAZA BRANCH
                          PALESTINE
 BNF Party: 236519510UID:           Swift:  Fedld:   ;
                          ISMAIL A B U SHANAB
 Debit/INS Party: 7001100100051             UID: 000448              Swift: A R A B L B B X Fedld:
                          A R A B BANK,BEIRUT
 OGB Party:               UID: 000000       Swift:   Fedld:
                          ARABLBB1024
                          A R A B BANK PLC
                          (CHTOURA BRANCH)
                          CHTOURA11
 O R G Party:             UID: 000000      Swift:    Fedld:
                          M R . Y O U S E F EL HAYEK




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                                                Payment
  Type: BK              Status: Released Vdate: 111000     TCN: 499BAN: 967765             f|

  Amount: $20,000.00    Commission: $0.00 ()      Charge: $16.00 (C)Cost Center:
  Credit Account: 7001609000051 ()
  Debit Account: 7001100100051 ()
  ABA: 0572 (BOOK T R A N S F E R )
  Swift 20: 01867P00 CHTO           Swift 21:
  Input: 00:00:00 (...)
  OFAC: ()
  Auth. Rel: 21:29:27 (...)
  Released: 21:29:27
  Verified: 00:00:00 (...)
  Credit/IBK Party: 7001609000051         UID: 342308               Swift: ARABPS22   Fedld:
                         A R A B BANK, RAMALLAH
  BBK Party:             UID:      Swift:  Fedld:
                         A R A B BANK PLC GAZA BRANCH
                         PALESTINE
  BNF Party: 236519510UID:         Swift:  Fedld:
                        MR.ISMAEL A B U CHANAB
  Debit/INS Party: 7001100100051         UID: 000448                Swift: ARABLBBX   Fedld:
                        A R A B BANK,BEIRUT
  O G B Party:          UID: 000000      Swift:   Fedld:
                             ARABLBB1024
                             ARAB BANK PLC
                             (CHTOURA BRANCH)
                             CHTOURA
  O R G Party:               UID: 000000   Swift:          Fedld:
                             MR.YOUSEF EL-HAYEK




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